      Case 2:14-cr-00083-DJC Document 184 Filed 04/25/17 Page 1 of 2


1                         UNITED STATES DISTRICT COURT

2                        EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,            No.   2:14-cr-00083-GEB
5                 Plaintiff,
6        v.                               ORDER FILING A LETTER RECEIVED
                                          FROM THE FEDERAL BUREAU OF
7    ALEKSANDR MASLOV,                    PRISONS UNDER SEAL AND DIRECTING
                                          COUNSEL TO FILE A BRIEF AND/OR A
8                 Defendant.              SEPARATE OR JOINT PROPOSED ORDER
9

10             On April 25, 2017, the undersigned judge received a

11   letter from the Federal Bureau of Prisons (“B.O.P.”), dated April

12   13, 2017; the letter was mailed to the federal courthouse located

13   in Fresno, California.      The letter concerns Defendant Aleksandr

14   Maslov and contains the following specific requests:

15             Dear Judge Burrell:
16             This is in response to your court order dated
               February 23, 2017, which committed Mr. Maslov
17             for an examination pursuant to 18 U.S.C.
               § 4241. Mr. Maslov was designated to our
18             facility on March 15, 2017. He arrived to the
               Metropolitan Detention Center (MDC), Los
19             Angeles, CA, on March 30, 2017.
20             Pursuant to 18 U.S.C. § 4241, the defendant
               may be committed for a period of up to 30
21             days so that our Psychology staff can
               complete   an    evaluation.   Our    clinical
22             psychologist requests a 15-day extension as
               permitted by the statute to complete the
23             testing and examination necessary to develop
               a history, diagnosis, and opinion. We would
24             also   ask  the   Court   to  determine   that
               commitment for the evaluation commence upon
25             his   arrival   at   our   facility.   It   is
               anticipated that the evaluation will be
26             completed by May 15, 2017. The report will be
               submitted to the Court within three weeks of
27             completion of the evaluation. You can expect
               to receive the report by June 5, 2017, should
28             you grant our request for an extension.
                                     1
      Case 2:14-cr-00083-DJC Document 184 Filed 04/25/17 Page 2 of 2


1    (emphasis added).

2              Therefore, no later than April 27, 2017, counsel shall

3    file a brief and/or a separate or joint proposed order concerning

4    these B.O.P’s requests.

5              Lastly, the Clerk of the Court shall serve each party

6    with a copy of the April 13, 2017 letter, and shall file the

7    April 13, 2017 letter under seal because the other portions of

8    the letter contain identifying information that need not be filed

9    on the public docket; and the Docket Text concerning this sealing

10   shall   state:     “Sealed   Letter       from   the   B.O.P.     concerning

11   Defendant’s Competency Evaluation.”

12             Dated:    April 25, 2017

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                           2
